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8                                UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
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11   EPIC GAMES, INC.,
                                                       No. 3:20-CV-05640-EMC
12                                        Plaintiff,
                                                       [PROPOSED] TEMPORARY
13                        vs.                          RESTRAINING ORDER AND ORDER
                                                       TO SHOW CAUSE WHY A
14   APPLE INC.,                                       PRELIMINARY INJUNCTION
                                                       SHOULD NOT ISSUE
15
                                        Defendant.     Date: August 17, 2020
16                                                     Courtroom: 5, 17th Floor
17                                                     Judge: Hon. Edward M. Chen
18
19
20   [PROPOSED] TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

21
                   On August ___ 2020, this Court heard plaintiff’s application for a Temporary
22
     Restraining Order and an Order to Show Cause why a preliminary injunction should not be
23
24   issued. After hearing this application and considering the arguments and papers submitted, the

25   court enters the following Temporary Restraining Order:

26                 ORDERED that Apple, together with its agents, employees, attorneys and all
27   persons having knowledge of this Order are restrained and enjoined from:
28
                                                                           Case No. 3:20-cv-05640-EMC
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1                   1. Removing, de-listing, refusing to list or otherwise making unavailable the app
2    Fortnite, including any update thereof, from the App Store on the basis that Fortnite offers in-app
3
     payment processing through means other than Apple’s In-App Purchase (“IAP”) or on any
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     pretextual basis;
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                    2. Removing, disabling or modifying Fortnite or any code, script, feature, setting,
6
7    version or update thereof from any iOS user’s device; and

8                   3. Taking any adverse action against Epic, including but not limited to restricting,

9    suspending or terminating any Epic entity from Apple’s Developer Program, on the basis that
10   Epic enabled in-app payment processing in Fortnite through means other than IAP or on the basis
11
     of the steps Epic took to do so.
12
                    This order and all supporting pleadings and opposing papers must be served upon
13
     the adverse party within ___ days.
14
15                  Defendant is further ordered to show cause on August ___, 2020, at ___ before

16   this Court why a preliminary injunction to the same effect should not issue.
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18
     IT IS SO ORDERED.
19
     Dated: August _____, 2020 at ____.
20   San Francisco, California
21                                                    ________________________________
                                                      United States District Judge
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                                                   -2-                      Case No. 3:20-cv-05640-EMC
